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               Exhibit 10
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 1                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA
 2
 3         IN RE: ROUNDUP                  )
           PRODUCTS LIABILITY              )   MDL No. 2741
 4         LITIGATION                      )
           _____________________           )   Case No.
 5         THIS DOCUMENT RELATES           )   16-md-02741-VC
           TO ALL CASES                    )
 6
 7                    TUESDAY, JANUARY 23, 2018
 8       CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
 9                                  – – –
10                  VIDEOTAPED DEPOSITION of LORELEI A.
11    MUCCI, ScD, held at the offices of Cetrulo LLP,
12    2 Seaport Lane, Boston, Massachusetts,
13    commencing at 9:01, on the above date, before
14    Maureen O'Connor Pollard, Registered Merit
15    Reporter, Realtime Systems Administrator,
16    Certified Shorthand Reporter.
17                                  – – –
18
19
20
21

                     GOLKOW LITIGATION SERVICES
22              877.370.3377 ph | 917.591.5672 fax
                             deps@golkow.com
23
24
25

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                                                        Page 2                                                 Page 4
 1         APPEARANCES:                                           1        PROCEEDINGS
 2 ANDRUS WAGSTAFF, P.C.                                          2
 3
   BY: DAVID J. WOOL, ESQUIRE
     david.wool@andruswagstaff.com                                3          THE VIDEOGRAPHER: We are now on the
 4
     7171 West Alaska Drive                                       4   record. My name is Chris Coughlin, and I'm a
     Lakewood, Colorado 80226
 5
     303-376-6360                                                 5   videographer for Golkow Technologies. Today's
            -and-                                                 6   date is January 23, 2018, and the time is
 6                                                                7   9:01 a.m.
   THE MILLER FIRM LLC
 7 BY: JEFFREY A. TRAVERS, ESQUIRE                                8          This video deposition is being held in
 8
     jtravers@millerlawllc.com                                    9   Boston, Massachusetts, In Re: Roundup Products
         108 Railroad Avenue
         Orange, Virginia 22960                                  10   Liability Litigation, United States District
 9       540- 672-4224
         Counsel for Plaintiffs
                                                                 11   Court, Northern District of California, MDL
10                                                               12   number 2741, Case Number 16-md-02741-VC.
11
   HOLLINGSWORTH LLP                                             13          The deponent is Dr. Lorelei Mucci.
12 BY: ERIC G. LASKER, ESQUIRE                                   14          Will counsel please identify
13
     elasker@hollingsworthllp.com                                15   yourselves and state whom you represent.
        1350 I Street, N.W.
14
        Washington, DC 20005                                     16          MS. WOOL: David Wool of Andrus
        202-898-5800
        Counsel for Defendant Monsanto                           17   Wagstaff for the plaintiffs.
15
16
                                                                 18          MR. TRAVERSE: Jeffrey Travers, The
17                                                               19   Miller Firm, for the plaintiffs.
18
   VIDEOGRAPHER:
                                                                 20          MR. LASKER: Eric Lasker,
19                                                               21   Hollingsworth LLP, for Monsanto.
   CHRISTOPHER COUGHLIN,
20 Golkow Technologies, Inc.                                     22          THE VIDEOGRAPHER: The court reporter
21            –––
22
                                                                 23   is Maureen O'Connor, and she will now swear in
23                                                               24   the witness.
24
25
                                                                 25          MR. LASKER: Let me clarify, do we

                                                        Page 3                                                 Page 5
 1             INDEX                                              1   have anyone on the phone? We don't have
     EXAMINATION                                    PAGE          2   anything set up, so maybe we don't.
 2   LORELEI A. MUCCI, ScD
     BY MR. WOOL                                    5             3
 3
 4                                                                4           LORELEI A. MUCCI, ScD,
         EXHIBITS
     NO.   DESCRIPTION                              PAGE          5   having been first duly identified and sworn, was
 5
                                                                  6   examined and testified as follows:
     32-1  Supplemental Expert Report of
 6       Lorelei A. Mucci, ScD, MPH........ 5                     7              EXAMINATION
 7   32-2 Andreotti, et al article,                               8   BY MR. WOOL:
         Glyphosate Use and Cancer
 8       Incidence in the Agricultural                            9      Q. Good morning, Dr. Mucci.
         Health Study...................... 6                    10      A. Good morning.
 9
     32-3     Blair, et al article,                              11      Q. How are you doing this morning?
10          Reliability of Reporting on                          12      A. Fine. How are you?
            Life-Style and Agricultural
11          Factors by a Sample of                               13      Q. Doing well.
            Participants in the                                  14
12          Agricultural Health Study from                                    So we are here to talk about your
            Iowa.............................. 43                15   supplemental report, is that your understanding?
13
                                                                 16      A. Yes.
     32-4     Heltshe, et al article, Using
14          multiple imputation to assign                        17      Q. I'm going to go ahead and hand you
            pesticide use for                                    18
15          non-responders in the follow-up                           what I've marked as Exhibit 32-1.
            questionnaire in the                                 19           (Whereupon, Exhibit Number 32-1,
16          Agricultural Health Study......... 64
17                                                               20           Supplemental Expert Report of Lorelei
18                                                               21
19                                                                            A. Mucci, ScD, MPH, was marked for
20                                                               22           identification.)
21                                                               23
22                                                                            MR. WOOL: Which is your supplemental
23                                                               24   report that you authored pursuant to PTO 34 in
24
                                                                 25   this litigation, is that correct?
25

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 1      A. Yes.                                       1    report, are you referring to Exhibit 1?
 2      Q. And if you don't know the pretrial          2      A. My supplemental report, Exhibit 1,
 3   order number, that's fine.                        3   yes.
 4      A. Okay.                                       4      Q. I just want to clarify.
 5      Q. And does this report along with the         5          All right. And did anybody help you
 6   original report that you authored contain all of 6    in drafting Exhibit 1 other than, say, advice
 7   your opinions on the Andreotti study that was 7       that you received from counsel?
 8   just published, or is soon to be published in     8      A. No.
 9   2018?                                             9      Q. You didn't receive any help from a
10          MR. LASKER: Objection to form.            10   grad student?
11      A. It's based on my opinion in reading        11      A. No.
12   the most recent publication, as well as          12      Q. Did anybody summarize any articles for
13   additional readings I've done, yes.              13   you?
14   BY MR. WOOL:                                     14      A. No.
15      Q. Okay. Let me go ahead and hand you 15              Q. Nobody -- okay.
16   what I've marked as Exhibit 2.                   16          And you said you had read a couple of
17          (Whereupon, Exhibit Number 32-2,          17   new articles since you submitted that report,
18          Andreotti, et al article, Glyphosate      18   correct?
19          Use and Cancer Incidence in the           19      A. Yes.
20          Agricultural Health Study, was marked 20          Q. And were those provided to us pursuant
21          for identification.)                      21   to your notice of deposition?
22   BY MR. WOOL:                                     22      A. I'm sorry, I don't understand the
23      Q. Which is the study in question.            23   question.
24          And so I guess my question is, does       24      Q. Let me clarify that.
25   this supplemental report, which is Exhibit 1, 25             Do you recall offhand what additional
                                             Page 7                                                Page 9
 1   together with your original report contain all   1    materials you reviewed since submitting that
 2   of the opinions that you intend to offer          2   report?
 3   relevant to Exhibit 2 that you have in front of   3      A. I've read a study, for example,
 4   you?                                              4   published by Benbrook describing trends in
 5          MR. LASKER: Objection to form.             5   glyphosate use over time. There's papers like
 6       A. There may be additional -- I tried to      6   that that I felt were relevant to my
 7   keep my report brief, and as such there may be    7   understanding of the epidemiology literature,
 8   specific topics I didn't cover. I raised the      8   particularly with respect to the Agricultural
 9   most important topics, and those are enclosed in 9    Health Study.
10   my supplemental report.                          10      Q. Okay. And have you read any of the
11   BY MR. WOOL:                                     11   plaintiffs' depositions that were taken?
12       Q. As you sit here today, are there any      12      A. Yes.
13   opinions that you are aware of that you intend   13      Q. Which ones did you read?
14   to offer about Exhibit 2 that are not contained  14      A. I've read through Dr. Ritz and
15   in either Exhibit 1 or your original expert      15   Dr. Neugut.
16   report?                                          16      Q. Just those two?
17       A. I'll have to hear the questions and       17      A. Yes.
18   then -- it's not clear to me. There are          18      Q. And any of the plaintiffs' expert
19   additional readings that I've done since I       19   reports?
20   submitted my report, and those are included in 20        A. Yes.
21   the information that you all have received. And 21       Q. Do you recall which expert reports?
22   there's a little bit more that I've learned      22      A. Yes. I read through Dr. Ritz, and I
23   about the topic, but the major points are        23   skimmed through Dr. Neugut. And I can't recall
24   covered in the supplemental report.              24   the other ones that I've skimmed through.
25       Q. When you say since you submitted your 25          Q. That's fine.

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 1          Okay. So let's talk about, I guess          1   etcetera?
 2   we'll call it the Andreotti study, is that fair?  2       A. No, that information is not provided.
 3      A. Yes.                                        3       Q. Would that be important for you to
 4      Q. Exhibit 2.                                  4    know?
 5      A. Yes.                                        5       A. The information that was provided in
 6      Q. Okay. So that study contained               6    the Andreotti study describes a five year time
 7   information on both private and commercial        7    period, and so that provided sufficient
 8   applicators, correct?                             8    information that on average the cohort filled
 9      A. Yes.                                        9    out the questionnaire five years between
10      Q. And there was a separate questionnaire     10    baseline and follow-up.
11   issued at enrollment for each subset, correct?   11       Q. Is that information you would want to
12          MR. LASKER: Object to the form.           12    know? To clarify, would you want to know when
13      A. I'm sorry, I don't understand the          13    the cohort members filled out their follow-up
14   question.                                        14    questionnaire?
15   BY MR. WOOL:                                     15           MR. LASKER: Objection to the form.
16      Q. Okay. Have you reviewed the                16       A. As I said, I think there's sufficient
17   questionnaires that the cohort members were      17    information that's provided in the methods from
18   given at enrollment?                             18    Andreotti, et al describing that it was a five
19      A. Yes.                                       19    year time period between the baseline
20      Q. And do you recall if there was a           20    questionnaire and the enrollment questionnaire.
21   separate questionnaire for private applicators   21    BY MR. WOOL:
22   and a different one for commercial applicators? 22        Q. So as you sit here today, when a
23      A. I don't recall that, no.                   23    cohort member filled out their questionnaire is
24      Q. Fair enough.                               24    not a piece of information you would be
25          And following enrollment, everybody       25    interested in?
                                            Page 11                                                 Page 13
 1   who was contained within the cohort received a     1           MR. LASKER: Objection to form.
 2   follow-up questionnaire at an approximate five     2       A. While it is important to understand
 3   year interval, is that correct?                    3   the timing of the questionnaire, I think there's
 4      A. I'm sorry, could you restate the             4   enough information that's provided in Andreotti,
 5   question?                                          5   et al to give a sense of the timing of the
 6      Q. So the cohort members were given a           6   baseline and follow-up questionnaire being five
 7   questionnaire at enrollment, right?                7   years.
 8      A. Yes.                                         8   BY MR. WOOL:
 9      Q. And then there was a follow-up               9       Q. Okay. And in the follow-up
10   questionnaire that was given at an approximate    10   questionnaire, the cohort was asked to report
11   five year interval?                               11   the number of days a pesticide was used in the
12      A. Yes.                                        12   most recent year, correct?
13      Q. And enrollment occurred in the early        13       A. Yes.
14   '90s, correct, approximately?                     14       Q. And that answer was used to determine
15      A. I just want to confirm. So enrollment       15   three metrics that are used in the Andreotti
16   was between 1993 to 1997.                         16   study?
17      Q. Okay. And then follow-up occurred           17           MR. LASKER: Objection to form.
18   starting in approximately 1999?                   18       A. Could you clarify, three metrics?
19      A. Yes.                                        19   BY MR. WOOL:
20      Q. To about 2005, correct?                     20       Q. So the follow-up questionnaire was
21      A. Yes.                                        21   used to determine ever-never use along with the
22      Q. And are you aware -- strike that.           22   enrollment questionnaire, correct?
23          Do you know what percentage of             23       A. Yes.
24   respondents filled out their questionnaires in,   24       Q. It was used to determine lifetime days
25   say, 1999 as opposed to, say, 2000, 2001, 2002,   25   of use?

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 1       A. Yes.                                         1   results of Andreotti would show that participant
 2          MR. LASKER: Object to form.                  2   as never having used glyphosate?
 3   BY MR. WOOL:                                        3          MR. LASKER: Objection to form.
 4       Q. And the follow-up questionnaire was          4      A. So just to -- so if a person had -- so
 5   also used to determine the intensity of weighted    5   the information on ever-never use gets updated
 6   lifetime days of use?                               6   across time because you have these two points of
 7          MR. LASKER: Object to form.                  7   information, and so the information on
 8       A. The information for both                     8   ever-never exposure is based on the baseline
 9   questionnaires was integrated into the lifetime,    9   questionnaire, and then it's updated information
10   weighted lifetime intensity measure, yes.          10   on the follow-up questionnaire, which is a
11   BY MR. WOOL:                                       11   pretty standard epidemiological approach to
12       Q. So if a cohort member had not used          12   integrating a time varying exposure.
13   glyphosate prior to enrollment, ever-never use     13   BY MR. WOOL:
14   for that member would be calculated from the       14      Q. And I think I've asked this, but the
15   follow-up questionnaire, correct?                  15   follow-up questionnaire only inquired as to the
16          MR. LASKER: Object to the form.             16   previous calendar year of use of a pesticide,
17       A. I'm sorry, I don't understand the           17   correct?
18   specific question.                                 18          MR. LASKER: Object to form.
19   BY MR. WOOL:                                       19      A. Yes. The follow-up questionnaire
20       Q. Okay. So, for example, if a cohort          20   asked about the prior year of use, which is
21   member had never used glyphosate at or prior to    21   actually a pretty standard epidemiological
22   enrollment -- right?                               22   approach to asking follow-up questionnaires.
23       A. Yes.                                        23   You like to give a reference time point for
24       Q. -- the ever-never use that's                24   participants to answer whether or not they have
25   calculated in Andreotti would be dependent upon,   25   participated in an exposure.
                                             Page 15                                                     Page 17
 1   I guess, both enrollment and then the follow-up     1   BY MR. WOOL:
 2   questionnaire, right?                               2       Q. So if somebody had used glyphosate
 3          MR. LASKER: Object to the form.              3   after enrollment but did not use glyphosate in
 4       A. Both pieces of information were              4   the calendar year immediately preceding
 5   integrated in determining ever-never exposure as    5   follow-up, would the follow-up questionnaire
 6   well as the intensity measures as well.             6   have captured that glyphosate use?
 7   BY MR. WOOL:                                        7          MR. LASKER: Objection to form.
 8       Q. And so if a cohort member did not use        8       A. While that particular individual would
 9   glyphosate at enrollment or in the year prior to    9   have been classified as being unexposed at both
10   follow-up, the follow-up questionnaire would       10   time points, that would represent likely a very
11   show that member as never having used              11   unlikely scenario, a very low proportion of
12   glyphosate, correct?                               12   participants.
13          MR. LASKER: Object to the form.             13   BY MR. WOOL:
14       A. I'm sorry, could you repeat the             14       Q. And --
15   question?                                          15       A. And would suggest actually that the
16   BY MR. WOOL:                                       16   majority of their person time actually was spent
17       Q. Yes.                                        17   as unexposed, which would be appropriate, since
18          So if somebody enrolled in the AHS          18   they would have only used a very short window of
19   study --                                           19   time between the baseline questionnaire and the
20       A. Yes.                                        20   follow-up questionnaire.
21       Q. -- and they did not use glyphosate          21       Q. Okay. And I believe you said that
22   prior to enrollment --                             22   that -- strike that.
23       A. Yes.                                        23          How were lifetime days of use
24       Q. -- and then they did not use                24   calculated in the Andreotti study?
25   glyphosate prior to the follow-up year, the        25       A. The information that was used to

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 1   calculate lifetime days of use included the         1          So while I don't -- I couldn't tell
 2   number of years an individual was using           2     you the exact formula, I do know in reading the
 3   glyphosate and the number of days of use per      3     epidemiology literature on this topic that they
 4   year that it was being used.                      4     really used a validated algorithm for
 5       Q. And in determining the number of days      5     calculating the intensity weighted days.
 6   per year of use for the -- strike that.           6         Q. What do you mean by "validated
 7          So it is a combination of the days of      7     algorithm"?
 8   use reported in both the enrollment               8         A. The approach that the Agricultural
 9   questionnaire and at follow-up, correct?          9     Health Study took was to compare the information
10       A. So again, it's a time varying             10     from the questionnaire algorithm versus a
11   exposure, so the information sort of gets --     11     biological marker to compare how well, and there
12   they're at -- you have the baseline information, 12     was a first formula that was used, and then it
13   and then it gets updated again based on the      13     was actually revised based on additional
14   follow-up information. So it's sort of a -- the  14     information on how well it predicted the urinary
15   way the questionnaires were -- the data from the 15     markers.
16   questionnaires were integrated in terms of the   16         Q. Okay. Now, if you look at Exhibit 2,
17   number of days of use and the lifetime days      17     at the top of the second page, on the right-hand
18   allows this time varying exposure to be          18     column the authors state that "the intensity
19   calculated.                                      19     score was derived from an algorithm based on
20       Q. Now, you just used the term "time         20     literature-based measurements and information
21   varying exposure."                               21     provided by the applicator, specifically whether
22       A. Yes.                                      22     the participant mixed or applied pesticides,
23       Q. What do you mean by that term?            23     prepared pesticide related equipment, used
24       A. It means, there are some things in        24     protective equipment, and application method
25   epidemiology that are fixed, someone's sex,      25     used."
                                             Page 19                                                    Page 21
 1   someone's genetic susceptibility. There are         1          Are you following me?
 2   other things where the exposures can vary over      2       A. Yes. That's the -- I was just
 3   time, smoking for example, someone may be           3   referring to -- so that was the -- based on the
 4   smoking at one time point and then may stop         4   algorithm that Dr. Coble had examined and then
 5   smoking at the second time point, so things that    5   had -- so it was based -- there was an earlier
 6   can -- whose exposure the prevalence can vary       6   algorithm they had developed which was used
 7   over time is a time varying exposure.               7   actually in the first Agricultural Health Study,
 8       Q. All right. And the Andreotti study           8   and then they've actually refined this
 9   also calculated intensity weighted lifetime days    9   algorithm, and this is what was used in this
10   of use?                                            10   updated publication of Andreotti, et al. And so
11       A. Yes.                                        11   it actually -- the way that they tested whether
12       Q. Correct?                                    12   the updated algorithm improved the information
13           Okay. And how is the intensity score       13   on intensity weighted was using urinary based
14   calculated, if you recall?                         14   biomarkers, so it's listed by Coble, et al.
15       A. So the intensity -- there are several       15       Q. And the authors state the algorithm
16   publications, actually, which nicely show the      16   was based on literature-based measurements,
17   method by which the Agricultural Health Study      17   correct?
18   used different information on the use of           18       A. Yes. So I believe that was based on
19   protective gear, information on the type of        19   the Dosemici algorithm. But again, so they
20   spraying, whether they personally mixed. And       20   started -- used that as a starting point, and
21   there are a number of really -- one of the         21   then they further refined it based on their own
22   strengths of the Agricultural Health Study is      22   questionnaire and tried to really optimize the
23   the fact that it uses validated algorithms to      23   intensity weighted measure within the
24   calculate this weighted intensity data and show    24   Agricultural Health Study.
25   that it has a very good validity.                  25       Q. And is that what they mean when they

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 1   say literature-based measurements?                1     applying glyphosate?
 2          MR. LASKER: Objection to form.             2         A. I'm sorry, I don't remember the exact
 3       A. I'm not sure what they mean by             3     wording of those questions.
 4   literature-based measurements. But what I         4         Q. Is the use of personal protective
 5   believe in reading all the past publications,     5     equipment something that could affect exposure?
 6   and if you read the Coble publication, it         6            MR. LASKER: Objection to form.
 7   describes in detail the approach that they took   7         A. In the Coble publication, that really
 8   starting with this baseline algorithm, and then   8     describes in detail the algorithm. That's one
 9   refining the algorithm using additional           9     of the factors that's used in the algorithm.
10   components from the questionnaire, and then they 10     And because it's felt that it's one of several
11   tested that within the Coble study to compare it 11     factors, that may influence the actual intensity
12   for two of the pesticides, compared and show     12     of the exposure. So it is, in fact, one of many
13   that the algorithm -- the new algorithm actually 13     variables that goes into the algorithm.
14   improved the prediction with the biomarker       14     BY MR. WOOL:
15   compared with the older algorithm.               15         Q. And do you know if the questionnaire
16          So I'm not sure specifically what they    16     asked whether somebody used personal protective
17   meant there by the literature base, but if you   17     equipment generally for applying all pesticides?
18   read through the Coble study that's, in fact,    18         A. I'm sorry, if you have the
19   the process they used.                           19     questionnaire I could take a look at it. I just
20   BY MR. WOOL:                                     20     don't recall the specifics of how the questions
21       Q. Okay. And in calculating the              21     were asked.
22   intensity score, they also based that            22         Q. And I think the last part, and I might
23   calculation upon information provided by the     23     be mistaken on this about the intensity score,
24   applicator, correct?                             24     is that it weighed the application method used
25       A. It was the information that was           25     by the applicator, is that correct?
                                             Page 23                                                 Page 25
 1   provided in the first and second questionnaires.    1           MR. LASKER: Objection to form.
 2       Q. Okay. And specifically whether the           2       A. I'm sorry, I don't understand the
 3   participant mixed or applied pesticides?            3   question.
 4       A. There were a variety of factors              4   BY MR. WOOL:
 5   actually. That was one of the factors, but          5       Q. Did the intensity score incorporate
 6   there were a variety of factors that went into      6   the specific application method used in applying
 7   the algorithm.                                      7   pesticides, if you recall?
 8       Q. And one of those was whether the             8       A. I believe that it did, yes. There
 9   applicator used protective equipment, correct?      9   were several factors that went into the
10       A. Yes. There were actually several            10   intensity weighted score. If you have the
11   features, though. What was interesting to see      11   publication by Coble, et al we could take a look
12   in the Coble study was the importance of           12   and look at specifically, but I believe that is
13   including these multiple measures in the           13   the case.
14   intensity weighted algorithm.                      14       Q. We might get to that in a little bit.
15       Q. And the questionnaire simply asked          15           So in effect what the authors of
16   whether personal protective equipment was used     16   Andreotti did with the follow-up questionnaire
17   when mixing, correct?                              17   was use the last year of use, and use the
18          MR. LASKER: Object to the form.             18   information gathered from that to determine the
19       A. I'm sorry, I don't recall the specific      19   previous five years of use, is that fair?
20   wording of the questionnaire.                      20       A. So the -- as I'd mentioned previously,
21   BY MR. WOOL:                                       21   it's pretty standard in an epidemiological
22       Q. Let me ask this.                            22   questionnaire to provide some sort of reference
23          Do you recall whether the                   23   year. And so the way the information on
24   questionnaire asked whether personal protective    24   ever-never was assessed, as well as the days and
25   equipment was used specifically for mixing or      25   years of use was updated, so you have

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 1   information that was the baseline, and then it      1   exposure that may or may not vary over time.
 2   was updated with the second questionnaire.        2     BY MR. WOOL:
 3       Q. So based on the second questionnaire       3         Q. Okay. And if we turn to, I believe,
 4   and the answers that were given in that           4     Page 3 of the Andreotti study. Actually, sorry,
 5   questionnaire, did the authors use those answers 5      Page 4, Table 2.
 6   to essentially predict what the use would have    6            The quartiles that are provided are
 7   been for the five years prior to the              7     based on the intensity weighted lifetime days of
 8   questionnaire?                                    8     glyphosate use, correct?
 9          MR. LASKER: Objection to form.             9         A. Yes.
10       A. I'm not sure I understand specifically    10         Q. And quartile 1 being the least amount
11   your question. Are you trying -- could you       11     of use, correct?
12   clarify your question?                           12         A. So the way the quartiles are formed,
13   BY MR. WOOL:                                     13     it divides those who were exposed, it divides
14       Q. I can clarify it.                         14     those groupings into four equal groupings. So,
15          So at follow-up, the follow-up            15     yes, the quartile 1 would be those who have used
16   questionnaire, we agreed, only asked about the 16       glyphosate but have less use, and quartile 4
17   year immediately prior to follow-up, correct?    17     would be the ones who are using glyphosate with
18       A. Correct.                                  18     the most use.
19       Q. And did the authors use that              19         Q. And quartile 2 and 3 would be -- would
20   information to predict what the use would have 20       show increasing use?
21   been for the years between enrollment and        21         A. Correct.
22   follow-up?                                       22         Q. Okay. Now, would you expect to see
23       A. The -- if somebody was using              23     some random error in a cohort of this size?
24   glyphosate at the enrollment questionnaire and 24           A. I'm sorry, with respect to what?
25   then not using glyphosate at the follow-up       25         Q. With respect to the exposure
                                             Page 27                                                 Page 29
 1   questionnaire, and they talked about the year       1   information that was provided by the cohort
 2   prior, then that person would have been             2   members.
 3   classified appropriately as exposed up until the    3      A. I'm sorry, could you clarify what you
 4   second questionnaire, and then would be assigned    4   mean by "random error"?
 5   as unexposed from the year before and going         5      Q. You've heard the term random error
 6   forward. Does that make sense?                      6   before?
 7          So the information -- yeah, so I             7      A. As an epidemiological concept, random
 8   think -- yeah. I'm not sure if I'm answering        8   error in terms of chance, or random error in
 9   the question specifically.                          9   terms of misclassification?
10       Q. If I use glyphosate for -- let's say        10      Q. In terms of either.
11   five times a year for the year immediately prior   11          MR. LASKER: Objection to form.
12   to enrollment --                                   12      A. Have I -- so I guess, I think, in my
13       A. Yes.                                        13   mind random error is a vague term, so I think if
14       Q. -- in calculating my lifetime days of       14   you could ask me specifically what type of error
15   use, how would the authors use that information?   15   you're referring to when you ask me if there's
16          MR. LASKER: Objection to form.              16   random error.
17       A. So I think you would have to also           17   BY MR. WOOL:
18   account for the baseline information. So again,    18      Q. With respect to chance, what does
19   what we're thinking about is a follow-up forward   19   random error mean to you as an epidemiologist?
20   in time, so they would use that information,       20      A. Random -- the role of chance implies
21   they use the information on the baseline           21   that you have a -- there's a true measure of the
22   questionnaire up until, and then updated the       22   relative risk, and then based on random sampling
23   information based on the follow-up questionnaire   23   you might get a certain distribution around that
24   which is, again, like standard epidemiological     24   true relative risk. And the larger study that
25   approach that you would take for looking at an     25   you have, and the larger number of cases you

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 1   have, as we have here, then that -- the             1   I'm not mistaken, is that correct?
 2   likelihood that random error is playing a role      2       A. I believe it was Blair 2001.
 3   actually decreases substantially.                   3       Q. Blair 2001?
 4      Q. So if I understand your answer                4       A. Yes.
 5   correctly, the larger the study the less the        5       Q. And are there any other validation
 6   likelihood of random error, correct?                6   studies that you're relying upon that you
 7          MR. LASKER: Objection to form.               7   believe indicates that the answers given at
 8      A. There's actually several factors that         8   enrollment were accurate?
 9   go into whether or not you think random error is    9       A. Yes, there was another nice
10   playing a role, or the role of chance. So the      10   publication. Again, one of the really nice
11   size of the study, the number of cases, the        11   things about the Agricultural Health Study is
12   number of exposed cases, all of those are          12   that there are so many publications they've done
13   factors that go into the role of changes. So       13   looking at the potential for bias, and I think
14   the larger the study, the more cases you have,     14   the Agricultural Health Study, in particular, is
15   and the higher the problems of exposed cases you   15   a really nice example of epidemiology.
16   have, all of those will lower the likelihood,      16          But another study they did was to
17   and this is the case here we have in Andreotti.    17   compare when different pesticides came on the
18   BY MR. WOOL:                                       18   market, and then sort of did a -- you know, did
19      Q. Do you know if the participants in the       19   anybody report using glyphosate or other
20   cohort were allowed to take their questionnaires   20   pesticides prior to when they actually had come
21   home prior to filling them out?                    21   on the market. So again, that's another kind of
22      A. I'm sorry, I don't know that answer.         22   test of the reliability of the data. And that
23      Q. Do you know if they were allowed to          23   actually also showed very low likelihood of
24   cross-reference their purchase records?            24   people reporting a number of these pesticides,
25      A. I'm sorry, I don't know that answer.         25   including glyphosate, before they ever came on
                                             Page 31                                                     Page 33
 1       Q. Do you think that the data would have        1   the market. So that's another kind of proof of
 2   been more reliable if they had been allowed to    2     principle that the information is quite
 3   cross-reference their purchase records?           3     reliable.
 4       A. I'm not sure one way or the other.         4         Q. Do you have any experience collecting
 5   What I do know was given the way the              5     occupational data, such as pesticide exposures,
 6   questionnaire was given, there was actually some 6      for any of your own publications?
 7   validation studies that were done to show the     7            MR. LASKER: Object to the form.
 8   information the way they provided it was highly 8           A. While I haven't collected information
 9   reliable. So there was a sample of about 4,000    9     on pesticides exposure, I've been involved in
10   of the participants who happened, because of the 10     multiple, multiple studies collecting a wide
11   regulations of the applicators came back a year  11     array of data. There are a number of
12   after they had filled out the baseline           12     commonalities in the collection of
13   questionnaire, and then they filled out the same 13     epidemiological data, so I'm very familiar with
14   information, and then there was a reliability    14     the principles of epidemiology data collection.
15   study and said how reliable was the information 15      BY MR. WOOL:
16   they gave a year ago with what they gave now,    16         Q. So for any of those studies that you
17   and that actually showed high reliability.       17     just described, did any of these studies involve
18          So I think -- I'm not sure what they      18     occupational exposures?
19   had done and whether they were able to take the 19          A. I'm sorry, could you clarify the
20   questionnaire home, but what I do know is based 20      question?
21   on the way the questionnaire was given the       21         Q. Did they involve exposures to a
22   results seemed to be very reliable in reporting  22     chemical of some sort that somebody was exposed
23   of glyphosate.                                   23     to during the course of their occupation?
24       Q. And the study that you described in       24         A. I'm sorry, which studies are you
25   your answer, that is the Blair 2002 study, if    25     referring to?

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 1      Q.    You just said that you had been --         1   determined the exposure by looking at the
 2      A.    My own studies.                            2   frequency of glyphosate use, correct?
 3      Q.    Yes.                                       3          MR. LASKER: Objection to form.
 4      A.    Sorry.                                     4       A. The Andreotti study used a wide array
 5           So again, as I said, I have not been        5   of factors, including the number of years of
 6   involved in the collection of occupational data.    6   use, the number of days of use, the different
 7   However, I have been involved in a wide array of    7   use of protective gear. There are a number of
 8   epidemiological risk factors. Each of these         8   factors in the algorithm that went into this
 9   have a number of common principles. I think the     9   classification of intensity of days use,
10   reliability of information is valid, whether       10   weighted intensity days use.
11   it's a dietary factor or occupational factor or    11   BY MR. WOOL:
12   body mass index. So reliability is a well          12       Q. Do you recall whether the
13   standard epidemiological principle for assessing   13   questionnaire asked specific questions about the
14   the quality of exposure information.               14   methods of glyphosate application?
15       Q. Have you ever been involved in the          15       A. I'm sorry, I don't recall that.
16   design of a questionnaire for occupational         16          MR. LASKER: Objection to form.
17   exposure studies?                                  17   BY MR. WOOL:
18       A. As I had just mentioned, I haven't          18       Q. Do you know whether the methods of
19   been involved in studies of occupational based     19   application can determine actual pesticide
20   exposures. However, I have been involved in        20   exposure?
21   multiple -- design of multiple questionnaires in   21          MR. LASKER: Objection to form.
22   a range of study populations.                      22       A. I'm sorry, I'm not -- that's not my --
23       Q. Have you ever been involved in the          23   necessarily my area of expertise. Again, I'm
24   validation of any questionnaires relevant to       24   not sure how the specific questions on
25   occupational exposures?                            25   glyphosate were collected on the questionnaire.
                                             Page 35                                                 Page 37
 1          MR. LASKER: Object to the form.              1   BY MR. WOOL:
 2       A. As I've said, I haven't been involved        2      Q. Okay. Do you know if the AHS study
 3   in the design or validation. However, there are     3   examined the correlation between the methods of
 4   some very common principles of assessing the        4   application and the prevalence of non-Hodgkin's
 5   quality of data collection, and I think I can --    5   lymphoma?
 6   although I haven't been involved in the design      6          MR. LASKER: Objection to form.
 7   or specific validation of pesticides, I can look    7      A. I'm sorry, I don't understand your
 8   at the epidemiology literature, I can look at       8   question.
 9   the study of Blair 2001 and Hoppin that show the    9   BY MR. WOOL:
10   quality of the occupational -- or the pesticide    10      Q. So the AHS study gathered information
11   data that was collected in the Agricultural        11   about the method of application, correct?
12   Health Study seemed to be very reliable.           12          MR. LASKER: Which study?
13       Q. Okay. And the questionnaires asked          13          MR. WOOL: Sorry, the Andreotti study,
14   about -- strike that.                              14   my apologies.
15          The Agricultural Health Study               15          MR. LASKER: Start again.
16   questionnaires didn't actually evaluate            16   BY MR. WOOL:
17   exposure, did they? They asked about use of a      17      Q. So the Andreotti study collected data
18   pesticide and used some other factors, like        18   on the method of application, correct?
19   whether protective equipment was worn, etcetera,   19      A. By "method," you mean whether it was
20   to sort of determine exposure, right?              20   aerial spraying?
21          MR. LASKER: Objection to form.              21      Q. Correct.
22       A. I'm not sure what you mean by               22      A. Yes.
23   "exposure."                                        23      Q. And do you know if the Andreotti study
24   BY MR. WOOL:                                       24   looked at the correlation between that
25       Q. Well, so the Andreotti study                25   information and the prevalence of non-Hodgkin's

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 1   lymphoma in the study population?                   1   measure of recall bias.
 2       A. I don't recall reading any specific          2       Q. And it's your opinion that
 3   study looking at that, no.                          3   non-differential exposure misclassification is a
 4       Q. Okay.                                        4   potential limitation of the Andreotti study,
 5       A. But actually, you know, I think what         5   correct?
 6   the study by Coble showed actually was that they    6       A. What I said is in epidemiology, it's a
 7   developed -- and following up on the publication    7   standard approach. We want to say if we see a
 8   of Dosemici, is that this algorithm that they       8   finding that's null, we want to try to
 9   developed and tested in a number of different       9   understand whether bias confounding or chance
10   studies that have been published by authors        10   were playing a role. One factor that we might
11   involved in the Agricultural Health Study show     11   be concerned about is non-differential
12   this updated algorithm that integrated multiple    12   misclassification because it would tend to bias
13   pieces of information into the algorithm really    13   a finding to the null.
14   seemed to perform the best in terms of             14       Q. Okay. And if we turn to Page 3 of
15   predicting exposure to glyphosate, or the          15   your report, I believe you actually talk about
16   intensity of exposure to glyphosate.               16   that potential limitation.
17       Q. And in the Andreotti study, the cohort      17       A. Yes.
18   members were selected because they applied for     18       Q. Now, is it your opinion that some
19   licenses to use restricted use pesticides, is      19   exposure misclassification did occur in the
20   that correct?                                      20   Andreotti study?
21       A. I believe that they were -- let me          21       A. It's possible that there is some
22   just refer to it. Yes, they were seeking           22   misclassification, non-differential
23   licenses to apply restricted use pesticides when   23   misclassification of glyphosate-based exposure.
24   they were enrolled.                                24   However, there's a number of lines of data that
25       Q. And what is a restricted use                25   would suggest that the amount of
                                             Page 39                                                 Page 41
 1   pesticide?                                          1   misclassification is probably not large, and
 2       A. I'm not familiar with that term. I'm         2   that's -- as I'd mentioned earlier, it's based
 3   not sure what they mean by that specifically.       3   on the Hoppin publication, based on the Blair
 4       Q. Okay. Let's turn to Page 7 of your           4   2001 publication showing the very reliable
 5   report, which is Exhibit 2, and in the second       5   information. It's based on the algorithm
 6   paragraph you note that "potential limitations      6   developed by Coble and showing the validation
 7   of the study" -- which is the Andreotti study,      7   with urinary biomarkers. So all of these would
 8   which is Exhibit 1 in this deposition --            8   suggest that while there -- if there is -- it's
 9   "include the possibility of non-differential        9   important not only to know if there is
10   misclassification of glyphosate-based herbicide    10   misclassification, but the extent of the
11   exposure."                                         11   misclassification, so if there is
12          Did I read that correctly?                  12   misclassification it's likely to be small.
13       A. Yes.                                        13      Q. So as you sit here today, can you tell
14       Q. And just so we're clear, how would you      14   me whether there was some misclassification in
15   define non-differential misclassification?         15   the Andreotti study?
16       A. In this particular context what I mean      16      A. While I can't necessarily say
17   is that if there is measurement error in           17   definitively yes or no if there is
18   glyphosate exposure, it's unrelated to the         18   misclassification, it would -- the true relative
19   outcome of non-Hodgkin's lymphoma. And that's      19   risk would actually have been more protective
20   one of the strengths of a cohort study.            20   than what we observed in the study which -- you
21          In contrast, a differential                 21   know, so again, what I can say definitively is
22   misclassification can occur sometimes in           22   that non-differential misclassification did not
23   case-control studies because the reporting of      23   hide a positive association between
24   the information on the exposure may be             24   glyphosate-based herbicides and NHL risk, so
25   influenced by the outcome itself. It's a           25   that I can say.

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 1          Whether there is some non-differential       1          identification.)
 2   misclassification I can't exclude, but it would     2   BY MR. WOOL:
 3   not have led to a true relative risk being a        3      Q. Okay. Just briefly, can you explain
 4   positive association in this study.                 4   what Blair did to determine the extent of
 5      Q. So if some non-differential                   5   exposure misclassification?
 6   misclassification did occur, is it your opinion     6      A. Yes. So there were data available
 7   that the true relative risk would be even lower     7   from about 4,000 of the participants who filled
 8   than what's reported?                               8   out a baseline questionnaire in the Agricultural
 9      A. It's not my opinion, it's actually a          9   Health Study who actually came in a year later
10   standard epidemiological principle. So if you      10   and filled out the same exact questionnaire, and
11   have -- as I've shown in my figure 1 in my         11   so the authors compared how reliable the
12   report, it's a mathematical relationship. If       12   information was between those two
13   you have a relative risk that you observe that's   13   questionnaires. And reliability is an
14   less than 1, and you have non-differential         14   established methodology for assessing the
15   misclassification, then the true relative risk     15   quality of epidemiological data from
16   would actually be even smaller than 1, than what   16   questionnaires. So they compared the exact
17   you observed away from 1. So it's just a           17   agreement between these two questionnaires.
18   mathematical relationship. So it's not my          18      Q. Okay. If you turn to Page 95, Table
19   opinion, but it's actually an epidemiological      19   1.
20   principle.                                         20      A. Yes.
21      Q. And so if, just to be clear, if some         21      Q. You will see that they have what they
22   exposure of misclassification did occur, then      22   describe as a comparison of dichotomous
23   the true relative risk reported in the Andreotti   23   responses on pesticide use between first and
24   study would, in fact, be lower than what is        24   second questionnaires, correct?
25   reported, which I think you point out as .86?      25      A. Yes.
                                             Page 43                                                       Page 45
 1       A. Yes.                                         1       Q. And they actually break down how
 2       Q. Okay. And you discuss some of the        2       individual pesticides or herbicides fared in
 3   validation studies that show that the cohort    3       terms of exact agreement, correct?
 4   provides reliable information?                  4           A. Yes.
 5       A. Yes.                                     5           Q. And Table 1 examines ever-never use,
 6       Q. And it is on the basis of some of        6       is that correct?
 7   those validation studies that you are able to   7           A. Yes.
 8   surmise that the percent of exposure            8           Q. And for glyphosate, the exact
 9   misclassification was low, I think -- strike    9       agreement between the first and second
10   that, actually.                                10       questionnaire is 82 percent, is that correct?
11          Okay. You cited to the 2001 Blair       11           A. Yes.
12   paper to support the proposition that exposure 12           Q. Okay. And what is the kappa statistic
13   misclassification was limited in the Andreotti 13       measuring?
14   study, correct?                                14           A. So the kappa statistic takes into
15       A. Yes.                                    15       account the role that chance might play in the
16       Q. Okay. Let's go ahead and take a look    16       fact that two people say the same thing on the
17   at this.                                       17       two different questionnaires. So, you know, if
18          I'm marking Blair 2001 study as         18       -- with glyphosate you have fairly high
19   Exhibit 3.                                     19       prevalence of the exposure and therefore just by
20          (Whereupon, Exhibit Number 32-3,        20       chance you may have two people saying they used
21          Blair, et al article, Reliability of    21       glyphosate on the two different questionnaires,
22          Reporting on Life-Style and             22       so the kappa statistic basically adjusts for the
23          Agricultural Factors by a Sample of     23       prevalence of the exposure in leading to
24          Participants in the Agricultural        24       concordant answers.
25          Health Study from Iowa, was marked for 25            Q. And further down in Table 1 they

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 1   provide these same calculation using method of     1   responses actually within one category of
 2   application, correct?                             2    agreement. I think that's really an important
 3       A. Yes.                                       3    feature about -- you know, while it's true that
 4       Q. And, for example, the exact agreement      4    we may in epidemiology be unable to tell with
 5   with hand-spraying on application is 72 percent, 5     complete specificity the exact number of days
 6   correct?                                          6    that somebody has used glyphosate or the number
 7       A. Yes.                                       7    of years they've applied, what this tells us
 8       Q. And depending on what type of              8    here is that we're able to appropriately rank
 9   application method was used, there are kind of a 9     people as either high, low, or not exposed.
10   range of different figures for exact agreement, 10            And so I think that's an important
11   correct?                                         11    feature as well. So it's not only what's the
12       A. Yes, yes. So they ranged from             12    exact agreement in terms of the number of years
13   72 percent up to 99 percent.                     13    mixed, but also, you know, was it -- if the
14       Q. Now, does the Blair paper indicate to     14    categories were so disparate, then you're right,
15   you that use of a pesticide in any given year    15    then you might be a little bit more concerned
16   can be used to determine -- strike that.         16    about that percent agreement.
17          Is it your opinion that the Blair         17           But the fact in the text where it says
18   paper demonstrates that use of a pesticide in    18    90 percent of subjects give responses within one
19   any given year can accurately predict the        19    category of agreement, that's really important
20   frequency of pesticide application in another    20    additional information. It suggests we can
21   year?                                            21    appropriately rank people as high, low, or no
22          MR. LASKER: Objection to form.            22    exposed.
23       A. So what this tells us is about the        23       Q. Okay. And if you look down below
24   reliability of the quality of the information    24    Table 2, for years mixed or applied, the
25   that's provided. It doesn't -- it gives you      25    categories are 1 or less, 2 to 5, 6 to 10, 11 to
                                            Page 47                                                 Page 49
 1   some sense of what the quality of                  1   20, 21 to 30, and more than 30, correct?
 2   epidemiological data is. That's what this paper    2       A. Yes.
 3   is telling us.                                     3       Q. Okay. And if we go down in Table 2 to
 4   BY MR. WOOL:                                       4   days per year mixed or applied, for glyphosate
 5       Q. And when you say "quality," does that       5   the exact agreement reported in Blair is
 6   include whether the information is reliable?       6   52 percent, correct?
 7       A. Exactly, yes.                               7       A. Yes. And we have the same point
 8       Q. Now if you turn the page over to            8   below, which is that although it's -- the exact
 9   Page 96, and you look at Table 2, Table 2 is       9   agreement is 52 percent, that the categories
10   telling us the agreement between the days per     10   within one -- 90 percent of the responses were
11   year of pesticide use mixed and applied,          11   within one category of agreement.
12   correct?                                          12       Q. And the categories for the days per
13       A. It tells us a number of different          13   year of usage are less than 5, 5 to 9, 10 to 19,
14   measures, including years mixed, days per year,   14   20 to 39, 40 to 59, and 60 to 150 -- I'm sorry,
15   and decade first applied, yes.                    15   and more than 150, correct?
16       Q. Okay. And if we look at glyphosate         16       A. Correct. So what this tells us, then,
17   and the days per year mixed or applied, the       17   is that although the exact agreement of
18   exact agreement provided by Blair 2001 is         18   somebody, for example, filling out 60 to 150 is
19   53 percent, correct?                              19   52 percent, it's highly unlikely that somebody
20       A. Actually that's the years mixed or         20   who used 60 to 150 would then on the second
21   applied is 53 percent.                            21   questionnaire report less than 5. So I think
22       Q. I'm sorry, yes.                            22   the fact that you have 90 percent agreement
23       A. Yes. And while that is true, if you        23   within one category is a really important
24   look further in the text, what's important to     24   feature of this study.
25   note is that 90 percent of the subjects gave      25       Q. But somebody could report, say, 150

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 1   uses a year and then drop down to 40 years --       1       Q. Okay. Let's go to Page 7 of your
 2   sorry, 40 uses per year --                          2   expert report. And you state in the second
 3       A. But that --                                  3   sentence of the second paragraph, "However,
 4       Q. -- and that would be one category            4   validation studies" -- are you there?
 5   apart, correct?                                     5       A. Yes.
 6       A. Oh, I see what you're saying. It's           6       Q. Okay. "However, validation studies
 7   possible, but we don't know exactly what the        7   within the Agricultural Health Study show that
 8   difference was. We don't know the exact value,      8   these licensed applicators have been shown to be
 9   because it's such a broad range there.              9   able to provide reliable self-reported
10       Q. Okay. Right. And so just what I want        10   information in this cohort." And then your cite
11   to clarify is that the days per year mixed or      11   to that is this Blair study that we're looking
12   applied exact agreement figure is not telling us   12   at in Exhibit 3.
13   that somebody might have used glyphosate one       13       A. Yes, that's what I say in my report,
14   more day per year, it's telling us that they are   14   yes.
15   in a different category, correct?                  15       Q. Are there any other cites or studies
16       A. I'm sorry, I don't understand.              16   that you rely upon to validate this opinion?
17       Q. Sorry, that was my fault. The               17          MR. LASKER: Objection to form. Asked
18   question was not clear at all.                     18   and answered.
19          And so what I'm asking is, the exact        19       A. As I had mentioned earlier, although I
20   agreement percentage does not -- is not looking    20   didn't cite it here, another piece of
21   strictly at whether or not there's a slight        21   information that's quite helpful is the
22   variation in agreement, it is, in fact, looking    22   publication by Hoppin which looked at comparing,
23   at whether or not somebody is in a different       23   particularly for the baseline questionnaire,
24   category, correct?                                 24   when people reported when they first started
25       A. I'm sorry, I still don't understand         25   using different pesticides, the authors compared
                                             Page 51                                                     Page 53
 1   specifically your question.                         1   those -- they wanted to know what -- if it was
 2       Q. The percentage of agreement is based         2   an issue that people were reporting starting use
 3   on which category a cohort member falls into,       3   of pesticides prior to when they came on the
 4   correct?                                            4   market, which would suggest they were an
 5          MR. LASKER: Objection to form.               5   incorrect response. So that was another piece
 6       A. So in the case of days per year, the         6   of information that shows the reliability of the
 7   percent exact agreement of 52 percent suggests,     7   information on exposure.
 8   then, that 52 percent of participants reported      8   BY MR. WOOL:
 9   being in the same category of days per year of      9       Q. Okay. Can you turn to Page 98 of the
10   use on both questionnaires. And then the           10   Blair article, please? Now, at the top of the
11   follow-up is that 90 percent of the subjects       11   right-hand column, the authors note that
12   were within one category of exposure.              12   "Although the reliability" --
13          So again, you know, these are               13       A. I'm sorry, you said at the top of the
14   categories of exposure, and suggesting that        14   right-hand --
15   we're able with this questionnaire to              15       Q. Top of the right-hand column on
16   appropriately rank people, and that's really the   16   Page 98.
17   goal of epidemiology.                              17       A. Yes.
18   BY MR. WOOL:                                       18       Q. The authors note that "Although the
19       Q. And what is the known rate of error         19   reliability of reported pesticide use among
20   for predicting frequency of glyphosate use using   20   farmers is as good as, for many other factors,
21   this method in the Blair study?                    21   assessed by questionnaires in epidemiological
22          MR. LASKER: Objection.                      22   research and better than for some variables it
23       A. I'm sorry, I don't understand your          23   is important to assess affects of potential
24   question.                                          24   misclassification on estimates of relative risk.
25   BY MR. WOOL:                                       25   If the level of agreement between the first and

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 1   second interview is considered a measure of              1   misclassification to conceal a true positive
 2   non-differential misclassification, we can               2   association?
 3   calculate affects on relative risk. For                  3          MR. LASKER: Objection to form.
 4   example, if the true relative risk was 4.0 in            4       A. I'm sorry, the words are
 5   non-differential misclassification for                   5   straightforward, but I'm still not understanding
 6   ever-never handled individual pesticides is as           6   what you're asking.
 7   in Table 1 (from 79 percent to 88 percent                7   BY MR. WOOL:
 8   agreement), the calculated relative risk would           8       Q. Is it possible that in the Andreotti
 9   range from 2.0 to 2.6."                                  9   study exposure misclassification could conceal a
10          Did I read that correctly?                       10   true positive association?
11      A. Yes, that is what it says. But I                  11       A. It's highly unlikely. And the reason
12   think one important thing to remember is also           12   that I say that is that given the odds ratio
13   that the effect on the relative risk is also            13   that was estimated in Andreotti, et al was less
14   going to be a function of the prevalence of the         14   than 1, that makes it highly, highly, highly
15   exposure.                                               15   unlikely that misclassification would mask a
16      Q. So what do you mean by that, just so              16   positive association. And that's based on
17   I'm clear?                                              17   standard epidemiology principles.
18      A. So if you -- if the prevalence of the             18       Q. So are you saying in effect that while
19   exposure is much lower, and you have the same           19   misclassification could bias the result towards
20   sort of agreement, you're going to see more             20   the null it could not, say, jump across 1?
21   distortion in the relative risk than you would          21       A. That's not just based on what I'm
22   with an exposure that's more common such as with        22   saying, it's based on standard epidemiology
23   glyphosate, because the rare -- an exposure is          23   principles mathematically. Like if you have a
24   the more sensitive it is going to be to                 24   very small study, a very small study, which we
25   misclassification on an absolute scale.                 25   don't have here in Andreotti, by chance it is
                                                 Page 55                                                  Page 57
 1      Q. Okay. I just want to make sure I                   1   possible that you might have something like
 2   understand what you're saying correctly.          2          that. But in this case of Andreotti, et al
 3          You were saying that for more commonly 3              where chance is very unlikely to have -- to do
 4   used pesticides that are not rare, that the       4          this, mathematically non-differential
 5   effect on the relative risk is not going to be    5          misclassification is going to bias a true
 6   as sensitive?                                     6          relative risk towards the null. Therefore,
 7      A. I can't recall which year it was, but       7          given the observed relative risk that we see in
 8   I know Blair has another publication about        8          Andreotti, et al, it's highly, highly unlikely
 9   misclassification where the authors show the      9          that it's masking a true positive association.
10   effect of the amount of misclassification on the 10             Q. Now, if we go back to Table 2 --
11   relative risk as a function of the prevalence of 11             A. Of --
12   the exposure. I just don't recall specifically   12             Q. -- of the Blair article, Exhibit 3.
13   what year that was.                              13          And again, we look at the days per year mixed or
14      Q. I think 2011 maybe.                        14          applied figure for glyphosate.
15      A. Yes. Possibly, yes. So I think that        15             A. Sorry, days per year, or the years
16   kind of shows the -- how those things are        16          per --
17   interrelated with each other.                    17             Q. The days per year in the middle of
18      Q. Do you believe that it is impossible       18          Table 2 --
19   for non-differential exposure misclassification 19              A. Yes.
20   to conceal a true positive association?          20             Q. -- which is reported again as
21          MR. LASKER: Objection to form.            21          52 percent, would you expect the accuracy of --
22      A. Could you ask the question again?          22          or strike that.
23   BY MR. WOOL:                                     23                  In the questionnaires that were given
24      Q. Yes. Do you believe that it is             24          in Andreotti, et al, those questionnaires asked
25   impossible for non-differential                  25          about the last year of use, correct?

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 1          MR. LASKER: Objection to form.                     1      Q. All right. Let me ask you this. Do
 2       A. No, that's not correct. It was -- in               2   you consider the AHS to be a null study?
 3   the follow-up questionnaire it referred to the            3         MR. LASKER: Objection to form.
 4   last year farmed.                                         4         Which study are you talking about?
 5   BY MR. WOOL:                                              5   BY MR. WOOL:
 6       Q. Okay. The last year farmed.                        6      Q. I'm sorry, the Andreotti study. I
 7       A. Yes.                                               7   keep saying AHS.
 8          But this particular -- I'm sorry to                8         Do you consider the Andreotti study to
 9   interrupt you. But this particular reliability            9   be a null study?
10   study actually looked at the baseline                    10         MR. LASKER: Objection to form again.
11   questionnaire, not the follow-up questionnaire.          11      A. I find the findings on non-Hodgkin's
12       Q. Okay.                                             12   lymphoma, that there's no association between
13       A. Do you think it might be appropriate              13   glyphosate-based herbicides and the risk of
14   for a quick break?                                       14   non-Hodgkin's lymphoma, or any of the
15       Q. Absolutely. We can take a break                   15   non-Hodgkin's lymphoma subtypes.
16   right. Now.                                              16   BY MR. WOOL:
17       A. That would be awesome.                            17      Q. You do not consider it to be a
18          THE VIDEOGRAPHER: Going off the                   18   negative study?
19   record. The time is 10:03.                               19         MR. LASKER: Objection to form.
20          (Whereupon, a recess was taken.)                  20      A. I'm not sure what you mean
21          THE VIDEOGRAPHER: Back on the record.             21   specifically by "negative study." What I would
22   The time is 10:17.                                       22   say about this is that the data suggests there's
23   BY MR. WOOL:                                             23   no association between glyphosate-based
24       Q. All right. So we were talking about               24   herbicides and the risk of non-Hodgkin's
25   the Blair paper briefly before we went off the           25   lymphoma.
                                                  Page 59                                                  Page 61
 1   record, right?                                            1   BY MR. WOOL:
 2      A. The Blair 2001?                         2                   Q. Do you believe that glyphosate-based
 3      Q. The Blair 2001 paper.                   3               herbicides have a protective effect?
 4      A. Yes.                                    4                   A. I do not believe that, based on the
 5      Q. And the Blair paper only examined the 5                 epidemiological evidence in this study, nor in
 6   exact agreement between enrollment            6               the totality of the epidemiology evidence, would
 7   questionnaires, correct?                      7               it suggest either a positive or inverse
 8      A. It looked specifically at the baseline  8               association.
 9   questionnaire, yes, the reliability of the    9                   Q. All right. You're familiar with the
10   information in the baseline questionnaire.   10               concept of imputation?
11      Q. Are you aware of any papers that have 11                    A. Yes.
12   looked at the follow-up questionnaire?       12                   Q. Okay.
13      A. In terms of the reliability?           13                   A. In the context of epidemiological
14      Q. Yes.                                   14               studies.
15      A. I'm not familiar, no.                  15                   Q. Right. I should have clarified.
16      Q. And this Blair paper only looked at    16                   A. Yes.
17   two years of questionnaire data, correct?    17                   Q. And in this study, was it 37 percent
18         MR. LASKER: Objection to form.         18               of the population, I think, that was lost to
19      A. I believe actually the questionnaires  19               follow-up?
20   were completed one year apart.               20                      MR. LASKER: Objection to form.
21   BY MR. WOOL:                                 21                   A. So just to clarify, when we talk about
22      Q. One year apart.                        22               lost to follow-up, there's different
23         So one questionnaire, and then a       23               connotations in epidemiology. We don't -- we
24   questionnaire the next year, correct?        24               haven't lost to follow-up in terms of what
25      A. Correct.                               25               happened in terms of disease outcomes, but

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 1   37 percent of the participants who filled out           1   did fill out the second questionnaire and those
 2   the baseline questionnaire did not fill out the         2   who didn't. So all of those things together, I
 3   second questionnaire.                                   3   think one should be concerned about this, but
 4   BY MR. WOOL:                                            4   multiple nodes of evidence suggest that it
 5       Q. In any of your own publications, have            5   didn't lead to a substantial bias in this study.
 6   you ever had 37 percent of a cohort be lost to          6      Q. Do you believe that -- or strike that.
 7   follow-up?                                              7          Can you explain briefly how the
 8          MR. LASKER: Objection to form.                   8   authors imputed -- or strike that. Let's
 9       A. Well, I haven't -- in the cohort                 9   actually take a look at the Heltshe study real
10   studies that I've worked on, we haven't had            10   quick. We will mark this as Exhibit 4.
11   37 percent of our participants not complete a          11          (Whereupon, Exhibit Number 32-4,
12   second questionnaire. I actually have been             12          Heltshe, et al article, Using multiple
13   involved in a cohort study where I -- while I          13          imputation to assign pesticide use for
14   didn't use the follow-up questionnaire, that           14          non-responders in the follow-up
15   particular follow-up questionnaire, more than          15          questionnaire in the Agricultural
16   30 percent of the individuals did not fill out a       16          Health Study, was marked for
17   second questionnaire. It was the Swedish               17          identification.)
18   mammography cohort. So I worked with their             18   BY MR. WOOL:
19   baseline questionnaire, but that particular            19      Q. And in the abstract the authors note
20   cohort had a second questionnaire 30 percent of        20   that "To assess the imputation procedure, a
21   the participants did not complete. And they            21   20 percent random sample of participants was
22   took an approach very similar to what was done         22   withheld for comparison. The observed and
23   with Andreotti, et al in terms of doing multiple       23   imputed prevalence of any pesticide use in the
24   imputation, comparing multiple imputation to           24   holdout dataset were 85.7 percent and
25   complete case assessment, and did a variety of         25   85.3 percent respectively." Correct?
                                                  Page 63                                                Page 65
 1   things to assess whether the amount of missing          1      A. Yes.
 2   data might influence the results.                       2      Q. And if you turn to Page 412, in the
 3      Q. Do you believe the Andreotti study                3   right-hand column. I think it's actually
 4   would be more reliable if fewer than 30 percent         4   highlighted in your copy.
 5   had been lost to follow-up?                             5      A. Yes.
 6      A. Well, it's interesting. In                        6          MR. LASKER: Okay. Thank you.
 7   epidemiology we should be concerned when we see         7   BY MR. WOOL:
 8   that 37 percent of the participants did not             8      Q. Okay. And the highlighted portion, I
 9   complete the second questionnaire. I definitely         9   believe, in your copy starts with "In pesticides
10   believe that's a valid concern. What's                 10   with the highest prevalence have the largest
11   reassuring, however, are the different                 11   standard errors, while rarely used pesticides
12   approaches that the authors, the Andreotti             12   have very little variability."
13   authors, took in their publication to assess           13          Is that what's highlighted in yours?
14   whether such an amount of missing data might           14      A. That is what is highlighted. I'm just
15   influence the results.                                 15   trying to see what they're referring to here.
16         In addition, there's a publication by            16   What information -- standard error. The
17   Heltshe which describes the methodology of the         17   estimates of the standard error, so the
18   imputation for the study. They also did a              18   variability around the mean, which makes sense,
19   number of assessments of the quality of                19   yes.
20   imputation which suggest that it actually didn't       20      Q. So, and am I correct that the more
21   influence the results. And finally there's             21   prevalent a pesticide is used, what the authors
22   another publication by Montgomery.                     22   are saying is there will be a larger standard
23         What we're really concerned about is             23   error with that pesticide compared to a
24   whether the association between glyphosate and         24   pesticide that is not used frequently?
25   non-Hodgkin's lymphoma is different in those who       25      A. It actually refers to they're slightly

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 1   higher than the true standard error.                1   the unobserved outcome of interest or
 2       Q. Okay.                                      2     unobservable confounders (i.e., missing at
 3       A. But that's different than the relative     3     random). The reduction of bias and increase in
 4   error. That concept of the standard error is      4     precision from multiple imputations is dependent
 5   different than the relative error, so it's not    5     on the covariates associated with both
 6   really describing how well the imputation         6     non-response and the endpoint variable and
 7   procedure worked.                                 7     factors associated with non-participation, which
 8       Q. Okay. And how is the standard error        8     were included in our imputation model. For our
 9   different than the relative error?                9     imputation analysis, the 'outcome' of interest
10       A. Well, the standard error, you know, we    10     is the missing pesticide use itself," and they
11   say the mean or the estimated prevalence is      11     cite to Montgomery, et al, which shows that
12   40 percent, and then we have sort of a           12     "there is little evidence for selection bias in
13   distribution of what we think the true expected 13      Phase 2 of the AHS. However missing at random
14   prevalence is. The relative error compares what 14      is an untestable assumption without additional
15   was actually observed in that 20 percent holdout 15     data; thus it is possible that non-responders
16   versus what was predicted based on the           16     differ from responders in variables we have not
17   imputation, so that relative difference in the   17     measured."
18   estimate.                                        18            Did I read that correctly?
19           So the standard error doesn't give you   19         A. Yes, you read that correctly.
20   a sense of whether the information is a valid or 20         Q. Okay. So what is the untestable
21   not imputation, just giving you -- it's like in  21     assumption that they're talking about in that
22   a 95 percent confidence interval around an odds 22      section?
23   ratio, that is comprised of the standard error   23         A. It's this concept of the data being
24   around the odds ratio. It gives you a sense of   24     missing at random, meaning that the reason that
25   the distribution.                                25     the data are missing is not related to some
                                             Page 67                                                      Page 69
 1       Q. And you would consider glyphosate to         1   factor of interest here.
 2   be a highly used pesticide, correct?                2       Q. Now, is it your opinion that this
 3       A. Yes, it is a highly -- the prevalence        3   imputation method used in Andreotti has general
 4   is quite high. But again, that doesn't -- what      4   acceptance within the epidemiological community?
 5   that comment in the second column on Page 412       5       A. The use of imputation is a common
 6   does not imply that because the prevalence is       6   procedure in epidemiology, yes. However, what I
 7   high the relative error -- there's no -- if you     7   think is important, as Andreotti has done, is to
 8   look, actually, in table -- where did I see it?     8   evaluate whether it's worked or not worked. So
 9   This is different than what I had downloaded.       9   while it is accepted, it's also accepted by
10          Oh, here. So Figure 2 here is a             10   epidemiologists that we should do our best to
11   figure showing the relative errors, which is a     11   understand whether the multiple imputation
12   better -- is really what you want to look at       12   approach has given us a valid estimate of the
13   when you want to assess how well the imputation    13   missing data.
14   worked. And there, actually, you can see that      14       Q. And have you used an imputation model
15   there doesn't really seem to be a relationship     15   in any of your own publications?
16   between the prevalence of the pesticide and the    16       A. Yes.
17   distribution of the relative errors, and that is   17       Q. Have you used this imputation model?
18   reassuring actually.                               18          MR. LASKER: Objection to form.
19       Q. Okay. Now, on the same page that            19       A. I wouldn't have used this specific
20   you're on, Page 414.                               20   multiple imputation model because this was
21          MR. LASKER: Okay. I'm there.                21   specified specific -- you want to -- what you
22   BY MR. WOOL:                                       22   want to do with multiple imputation is think
23       Q. In the right-hand column, the first         23   about what you're trying to predict, and you
24   full paragraph reads, "A key assumption of any     24   want to use the covariates and the relationship
25   imputation is that missingness is independent of   25   of those covariates to best predict the missing

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 1   data. So the approach in the study where I've       1   used for here was to say how well -- did the
 2   used multiple imputation was very different than    2   imputation approach do a better job, was it more
 3   this. But it's still -- it's using a similar        3   predictive than if you just used the model or
 4   strategy which they have done here.                 4   just looked at what the actual observed
 5   BY MR. WOOL:                                        5   prevalence was. And so these three values here
 6       Q. Could baseline exposure of                   6   are used to say did the imputation add more
 7   misclassification impact the accuracy of the        7   information than if you just used the actual
 8   imputation?                                         8   observed data.
 9          MR. LASKER: Objection to form.               9          So it's a measure of should you just
10       A. In what context? I'm sorry.                 10   do simple -- a simple approach, or should you do
11   BY MR. WOOL:                                       11   this much more complicated approach. So that's
12       Q. Insofar as it provides a reliable           12   what the Brier score is being used for here.
13   outcome.                                           13      Q. And have you ever calculated a Brier
14          MR. LASKER: Objection to form.              14   score in any of your own publications?
15       A. I'm sorry, could you ask specific -- a      15      A. I have not used the Brier score, no.
16   more specific question? I'm not sure I             16      Q. Were you familiar with the Brier score
17   understand what you're asking.                     17   before this litigation?
18   BY MR. WOOL:                                       18      A. Although I wasn't familiar with this
19       Q. As I understand, the Heltshe is             19   particular score, I'm very familiar with
20   looking at, among other things, sort of the        20   prediction modeling in different strategies
21   validity of the imputation model, correct?         21   people use to assess how well predicted model
22       A. Yes.                                        22   adds information compared to sort of a baseline
23       Q. Okay. And could a measurement error         23   model. So I wasn't familiar with this specific
24   in baseline glyphosate use impact the validity     24   measure, but could easily understand why it's
25   of the model as it's used in Andreotti, et al?     25   being used here.
                                             Page 71                                                 Page 73
 1           MR. LASKER: Objection to form.              1       Q. And so what does the reference Brier
 2       A. Are you asking more generally, or did      2     score for glyphosate indicate?
 3   it in this particular case?                       3         A. So again, you know, what we're really
 4   BY MR. WOOL:                                      4     interested here in this table is the Brier skill
 5       Q. Could it.                                  5     score because it gives us a sense, compared to
 6       A. I guess it may or may not. It would        6     the reference Brier, how much additional
 7   be hard to predict, because it would rely on a    7     information the multiple imputation model did in
 8   number of factors. So it might, but it may not    8     proving the accuracy in the prediction. So what
 9   as well.                                          9     it tells us is that the imputation model gave
10           I think here in this specific example    10     almost a 10 percent improvement in the
11   what's really nice to see is that the imputation 11     prediction of the imputed data compared to just
12   methodology performed well in predicting use of 12      relying on this simple model. So, and that is
13   glyphosate in this study.                        13     compared to some of the other pesticides, for
14       Q. Now, if you turn back, I think, to        14     example, benomyl where it doesn't look like the
15   Table 3, you'll see that Table 3 gives us a      15     imputation added much more information than if
16   number of figures for the various pesticides at  16     you just used the simple model.
17   use, or at issue in the Andreotti study,         17             So does that answer your question?
18   correct?                                         18         Q. Yeah, I think it answers it well
19       A. Yes.                                      19     enough.
20       Q. And three of the calculations that        20             Do you believe that maintaining a high
21   Table 3 provides are reference Brier scores,     21     rate of follow-up is integral to ensuring study
22   Brier score, and Brier skill score, correct?     22     validity?
23       A. Yes.                                      23             MR. LASKER: Objection to form.
24       Q. Now, what is a reference Brier score?     24         A. Yeah. As an epidemiologist, our goal
25       A. Well, what these three metrics were       25     is to optimize the amount of follow-up, because

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 1   that would ensure that there's no issue of a              1   the field of epidemiology as to what constitutes
 2   selection bias being introduced. But at the               2   a high rate of follow-up?
 3   same time, just because you might not have all            3          MR. LASKER: Objection to form.
 4   of the participants in your study completing the          4       A. I wouldn't -- I mean, I think it's
 5   second questionnaire, it doesn't necessarily              5   very context specific. And again, our goal is
 6   imply that a bias has resulted. It's important            6   to try to have as high follow-up as possible.
 7   to evaluate whether a bias has resulted, but it           7   If that doesn't occur, then it's also important
 8   doesn't necessarily mean that it has occurred.            8   as an epidemiologist to evaluate the potential
 9   BY MR. WOOL:                                              9   for bias, which Andreotti has done specifically
10       Q. In terms of the non-responders in                 10   here. And also not only Andreotti, et al, but
11   Andreotti, is it possible to rule out selection          11   also the many other publications that have
12   bias?                                                    12   relied on the Agricultural Health Study second
13       A. There are multiple nodes of evidence              13   questionnaire have also done -- looked at this
14   that suggest that selection bias is not likely           14   issue as well in the context of the exposure and
15   to be a big concern here, and, you know, I think         15   the outcome they were looking at.
16   we have that data from the Andreotti publication         16   BY MR. WOOL:
17   itself where they looked at a number of                  17       Q. Would you consider a 37 percent loss
18   sensitivity analyses. We have that in the                18   in follow-up to be a high rate of follow-up?
19   Montgomery study which looked at the -- a number         19          MR. LASKER: Objection to form.
20   of factors in those who did and did not complete         20       A. I would say, again, it is a -- we
21   the second questionnaire. They also tried to             21   would be concerned just as we would be concerned
22   assess the potential role of selection bias in a         22   with any amount of missing data. However, just
23   number of exposure/outcome relationships. And            23   because there is that amount of missing data
24   then also from Heltshe as well.                          24   doesn't mean necessarily bias occurred.
25          So I think all of these pieces of                 25          And I think as we've just talked

                                                  Page 75                                                       Page 77
 1   information would suggest that it's very                  1   about, these authors and many of the other
 2   unlikely that selection bias would have led to a  2           authors in the Agricultural Health Study have
 3   bias in this Andreotti study.                     3           evaluated the impact of bias. Because you're
 4       Q. But you can't definitively rule out        4           right, as an epidemiologist we should be
 5   selection bias having occurred in the Andreotti   5           concerned. However, it's really reassuring to
 6   study, correct?                                   6           see from multiple studies, multiple lines of
 7           MR. LASKER: Objection to form.            7           evidence, the way they've looked at the
 8       A. Well, as an epidemiologist where we        8           potential for bias in multiple ways, all of
 9   never would be able to completely rule anything 9             these analyses suggest that selection bias did
10   out, I think again what's really important here  10           not result in any -- in the study of Andreotti,
11   is that there's multiple nodes of evidence       11           et al and glyphosate and NHL risk analysis.
12   showing whether this bias existed, and all of    12           BY MR. WOOL:
13   these different nodes of evidence suggest that   13               Q. Would it be reasonable for an
14   the bias is very unlikely to have occurred in    14           epidemiologist to put less weight on a study due
15   this Andreotti study.                            15           to a 37 percent loss in follow-up?
16           MR. LASKER: Just for clarification,      16                  MR. LASKER: Objection to the form.
17   are you saying nodes or modes?                   17               A. Again, that's a very general comment.
18           THE WITNESS: Nodes.                      18           And what I would want to know is -- so we can
19           MR. LASKER: That's what I thought, I 19               think of it it's almost like a Bayesian
20   wanted to clear it up.                           20           approach. A priori if I heard there was
21   BY MR. WOOL:                                     21           37 percent missing data, that would raise my
22       Q. We talked about a high rate of            22           concern. However, if I see that the authors,
23   follow-up just a second ago, right?              23           and multiple authors have looked at this
24       A. (Nodding in the affirmative).             24           question in multiple ways, and there doesn't
25       Q. Okay. Is there any agreement within       25           seem to be a bias occurred, my posterior

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 1   probability then would be based on all this         1   you know if lost in follow-up in AHS is related
 2   information that a bias is unlikely to have         2   to outcome status or -- strike that.
 3   happened.                                           3          Can you definitively rule out that
 4          So while it is something to think            4   loss in follow-up in the Andreotti study is
 5   about and to be concerned about, there are          5   related to outcome status?
 6   standard approaches we can take as                  6          MR. LASKER: Objection to form.
 7   epidemiologists to investigate whether a bias       7      A. While -- in the approach, one of the
 8   indeed occurred. And in this case, and again        8   approaches that -- there are a couple of
 9   from all of these different pieces of data that     9   different approaches that would suggest that is
10   we've talked about, it doesn't seem that the       10   not the case. In the sensitivity analysis
11   37 percent missing data has resulted in any        11   Andreotti, et al looked at first just the
12   substantial bias in this study. And I think --     12   individuals who had filled out both
13   BY MR. WOOL:                                       13   questionnaires, so the complete case, so where
14       Q. Okay. So in your capacity as a peer         14   selection bias wouldn't have caused a problem.
15   reviewer, have you ever come across a study        15   And when you look at the relative risk estimates
16   where 37 percent of the cohort was lost to         16   for the association between glyphosate and NHL
17   follow-up?                                         17   risk there and compare it to the imputation, the
18          MR. LASKER: Objection to form.              18   findings are very, very similar, very, very
19       A. As I mentioned, this wasn't                 19   similar.
20   necessarily in the context of peer review. But     20          Also, when they say well, let's just
21   as I've mentioned, I had previously collaborated   21   look at the baseline questionnaire, when they do
22   on the Swedish mammography cohort study, and       22   that, again the results of that baseline
23   there -- and that's an NCI-funded cancer           23   questionnaire compared to the follow-up
24   epidemiology cohort, they published literally      24   questionnaire, very, very similar. So both of
25   hundreds of publications, and they have            25   those strategies would suggest that such a bias
                                             Page 79                                                 Page 81
 1   30 percent of their participants did not            1   did not lead to any bias of the results.
 2   complete the second questionnaire. They did         2   BY MR. WOOL:
 3   multiple imputation, they compared it, just as      3      Q. What does the concept of -- or what
 4   Andreotti did, to the complete case assessment,     4   does external validity mean within the field of
 5   they did a variety of assessments to see whether    5   epidemiology?
 6   the participants who completed both                 6      A. So external validity refers to
 7   questionnaires differed from those who only         7   generalizability, meaning can you take the
 8   completed one, so I -- there are                    8   findings in this one cohort study and
 9   well-established epidemiology studies, cohort       9   extrapolate that to other populations.
10   studies that do have large amounts of missing      10      Q. Do you believe that you can
11   data.                                              11   extrapolate the results of the Andreotti study
12   BY MR. WOOL:                                       12   to other populations?
13       Q. And is it possible that the loss in         13      A. There's no reason for me to suggest --
14   follow-up in the Andreotti study is related to     14   there's no inclination to me to suggest why that
15   exposure status?                                   15   would not be the case, why an underlying
16          MR. LASKER: Objection to form.              16   relationship between glyphosate and NHL risk
17       A. I'm not sure I understand what you          17   would differ in this population versus another
18   mean. Because what you're really concerned         18   population.
19   about is not whether the missing data is related   19          And in fact, actually there was a
20   to the exposure status, but really whether the     20   really nice editorial that accompanied
21   missing data on the exposure is also               21   Andreotti, et al by Ward, Elizabeth Ward,
22   differentially related to the outcome. That's      22   suggesting, actually, that the Agricultural
23   where the selection bias would occur.              23   Health Study in many ways is an excellent
24   BY MR. WOOL:                                       24   population to look at the association between
25       Q. So I guess my question should be, do        25   glyphosate and NHL risk.

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 1       Q. Now, what about the concept of               1   the criteria for the meta-analysis that you're
 2   internal validity as it relates to the larger       2   performing, so it would be very unclear why you
 3   field of epidemiology?                              3   would exclude Pahwa here.
 4       A. Yes, internal validity is what we've         4       Q. Okay. And in the Andreotti study,
 5   been talking about already. It's thinking about     5   they evaluated the cohort at 20 years, correct?
 6   the concepts of whether bias confounding or         6          MR. LASKER: I'm sorry.
 7   chance might explain an observed association.       7       A. I'm sorry, I don't understand your
 8       Q. And is internal validity a necessary         8   question.
 9   prerequisite to establish external validity?        9   BY MR. WOOL:
10       A. Certainly. Well, I mean, really you         10       Q. Let me just go to Table 3, I think
11   wouldn't want to generalize a bias finding to a    11   that is little bit more clear.
12   different population, so that's what that          12          MR. LASKER: Where are you?
13   concept means.                                     13          MR. WOOL: Table 3 of Andreotti.
14       Q. So I guess yes, internal validity is a      14          MR. LASKER: Just get myself organized
15   necessary prerequisite to external validity?       15   here.
16          MR. LASKER: Objection to form.              16          Page 6?
17       A. Well, you need to have a study to be        17          MR. WOOL: Yes.
18   internally valid to say anything meaningful        18   BY MR. WOOL:
19   about the observed association, regardless of      19       Q. And what is the right-hand column
20   generalizability. But that's the case for every    20   showing us?
21   epidemiological study, you want to make sure       21       A. So in this table the authors presented
22   that bias confounding and chance have not -- are   22   data on intensity weighted days of exposure of
23   not explaining the observed association that you   23   glyphosate and cancer risk, and in the right
24   have, which, you know, again, has been nicely      24   column is looking at an analysis lagging -- or
25   investigated here in Andreotti, et al.             25   introducing a latency to look at longer term
                                             Page 83                                                 Page 85
 1   BY MR. WOOL:                                        1   effects of glyphosate-based herbicides.
 2       Q. Now, in your supplemental expert          2             MR. LASKER: Just for the record, I
 3   report you completed a meta-analysis, correct? 3        don't know if this is intended or not, this
 4       A. Yes. What I did was to do an updated      4      Exhibit 32-2 does not include the supplemental
 5   meta-analysis where I, as you can see from       5      table. I don't know if you intended it not to,
 6   Figure 2 in my supplemental report, I looked at 6       but we don't have it.
 7   point estimates from four different studies.     7             MR. WOOL: It should have.
 8       Q. And one of those studies was Pahwa, et 8                MR. LASKER: It should have. We don't
 9   al, 2016?                                        9      have it.
10       A. Yes. Was it -- yeah, Pahwa 2016.         10             MR. WOOL: Well --
11       Q. Would it be improper to exclude that     11             MR. LASKER: You won't ask those
12   study?                                          12      questions.
13       A. Would it be improper to exclude that     13             MR. WOOL: It is what it is at this
14   study?                                          14      point.
15       Q. Yes, in the meta-analysis.               15      BY MR. WOOL:
16       A. I'm sorry, I don't understand your       16          Q. So staying in the right-hand column,
17   question.                                       17      for the 20 year lag and looking at non-Hodgkin's
18       Q. If I were to -- I guess, if a            18      lymphoma, what are the figures in the
19   meta-analysis did not include the Pahwa study, 19       parenthesis telling us?
20   would you consider that to be a flawed          20          A. I'm sorry, in the parenthesis, those
21   meta-analysis?                                  21      are 95 percent confidence intervals. Is that
22       A. Well, I think in -- what you would do    22      what you're referring to?
23   in a meta-analysis is to evaluate -- you would 23           Q. Yes.
24   want to go through an understanding of all of 24               And so what is the upper figure
25   the available epidemiological studies that meet 25      telling us in those parenthesis?

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 1       A. I'm sorry, I don't understand what        1    meta-analysis, you did not include the results
 2   you're referring to.                              2   with the 20 year lag?
 3       Q. If we look at the first quartile in        3       A. That information was not available for
 4   the parenthesis we see a range of .91 to 1.64,    4   all of these studies, so this particular
 5   correct?                                          5   meta-analysis simply looks at the ever-never
 6       A. Yes.                                       6   exposure that was available from each of the
 7       Q. Okay. What is the 1.64 telling us?         7   publications.
 8       A. That's the upper bound of the              8           My goal wasn't to -- my goal was
 9   95 percent confidence interval.                   9   really just to give sort of an information about
10       Q. And what -- you said upper bound or       10   what the totality of the epidemiology is saying
11   upper --                                         11   to us. You know, there is caveats, as I've said
12       A. That's the upper bound of the             12   previously, that we can come up with a meta
13   95 percent confidence interval.                  13   relative risk estimate, but it doesn't adjust
14       Q. What does the upper bound mean in the 14       for any potential biases or confounders that
15   field of epidemiology?                           15   have not been taken into account here.
16       A. So it gives you -- so we're estimating    16       Q. Just so I'm clear, you're not saying
17   what you think to be the relative risk, and then 17   that -- strike that. I understand your answer.
18   you have some uncertainty around that estimate. 18            Okay. I think that's it for right
19   The amount of uncertainty is a function of the   19   now.
20   number of cases, the prevalence of the exposure, 20           MR. WOOL: If you have any questions?
21   so this gives you a range of values that are     21           MR. LASKER: None. You don't have an
22   consistent. Although you would think that the    22   option. We're done.
23   range of values are more consistent with the     23       A. Thanks so much.
24   point estimate than the -- either the lower or   24           THE VIDEOGRAPHER: This concludes the
25   upper bound. But to me what that tells you when 25    January 23, 2018 deposition of Dr. Lorelei

                                            Page 87                                                    Page 89
 1   you look at the 20 year lagged analysis, there's 1    Mucci. Going off the record. The time is
 2   no association between glyphosate-based           2   10:55.
 3   herbicides and risk of non-Hodgkin's lymphoma 3             (Whereupon, the deposition was
 4   with 20 -- even if you lag 20 years of exposure. 4          concluded.)
 5       Q. Okay. But the upper bound for all          5
 6   quartiles with a 20 year lag for non-Hodgkin's    6
 7   lymphoma are above 1, correct?                    7
 8           MR. LASKER: Objection to form.            8
 9       A. Well, that is correct. The other way       9
10   to look at this is that all of the lower bounds  10
11   of the 95 percent confidence intervals are below 11
12   1, because when you look at the overall          12
13   association here, this really is telling us      13
14   there's no association between glyphosate-based 14
15   herbicides, assuming a 20 year lagged analysis, 15
16   and the risk of NHL.                             16
17           I actually have -- I don't know if       17
18   it's helpful, but in my supplemental report we   18
19   also looked at the 15 -- I'm sorry, I don't have 19
20   those numbers specifically, but there was no     20
21   association either with assuming a 10 year, a    21
22   15 year, or a 5 year lag, which we see also in   22
23   this Table 3.                                    23
24   BY MR. WOOL:                                     24
25       Q. And am I correct that for your            25


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 1   COMMONWEALTH OF MASSACHUSETTS )                               1          ------
 2   SUFFOLK, SS.                )                                            ERRATA
 3         I, MAUREEN O'CONNOR POLLARD, RMR, CLR,                  2          ------
 4   and Notary Public in and for the Commonwealth of              3   PAGE LINE CHANGE
 5   Massachusetts, do certify that on the 23rd day                4   ____ ____ _________________________________
 6   of January, 2018, at 9:01 o'clock, the person                 5    REASON: __________________________________
 7   above-named was duly sworn to testify to the                  6   ___ ____ __________________________________
 8   truth of their knowledge, and examined, and such              7    REASON: __________________________________
 9   examination reduced to typewriting under my                   8   ____ ____ _________________________________
10   direction, and is a true record of the testimony
                                                                   9    REASON: __________________________________
11   given by the witness. I further certify that I
                                                                  10   ____ ____ _________________________________
12   am neither attorney, related or employed by any
                                                                  11    REASON: __________________________________
                                                                  12   ____ ____ _________________________________
13   of the parties to this action, and that I am not
                                                                  13    REASON: __________________________________
14   a relative or employee of any attorney employed
                                                                  14   ____ ____ _________________________________
15   by the parties hereto, or financially interested
                                                                  15    REASON: _________________________________
16   in the action.
                                                                  16   ____ ____ _________________________________
17         In witness whereof, I have hereunto
                                                                  17    REASON: _________________________________
18   set my hand this 5th day of February, 2018.
                                                                  18   ____ ____ _________________________________
19                                                                19    REASON: _________________________________
20         ______________________________________                 20   ____ ____ _________________________________
21         MAUREEN O'CONNOR POLLARD, NOTARY PUBLIC                21    REASON: _________________________________
22         Realtime Systems Administrator                         22   ____ ____ _________________________________
23         CSR #149108                                            23
24                                                                24
25                                                                25

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 1            INSTRUCTIONS TO WITNESS                              1
 2                                                                 2         ACKNOWLEDGMENT OF DEPONENT
                                                                   3
 3             Please read your deposition over                    4             I, __________________________, do
 4   carefully and make any necessary corrections.                     Hereby certify that I have read the foregoing
 5   You should state the reason in the appropriate                5   pages, and that the same is a correct
 6   space on the errata sheet for any corrections                     transcription of the answers given by me to the
                                                                   6   questions therein propounded, except for the
 7   that are made.
 8
                                                                       corrections or changes in form or substance, if
               After doing so, please sign the                     7   any, noted in the attached Errata Sheet.
 9   errata sheet and date it. It will be attached                 8
10   to your deposition.                                           9   _________________________________
11             It is imperative that you return                        LORELEI A. MUCCI, ScD     DATE
                                                                  10
12   the original errata sheet to the deposing                    11
13   attorney within thirty (30) days of receipt of               12
14   the deposition transcript by you. If you fail                13
15                                                                14
     to do so, the deposition transcript may be                   15
16   deemed to be accurate and may be used in court.              16   Subscribed and sworn
17                                                                     To before me this
18                                                                17   ______ day of _________________, 20____.
19                                                                18   My commission expires: ________________
                                                                  19
20
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21                                                                20   Notary Public
22                                                                21
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